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Approved: ____________ ___________________
          THOMAS JOHN WRIGHT
          Assistant United States Attorney


                                                       20 MAG 9227
Before:   THE HONORABLE DEBRA FREEMAN
          United States Magistrate Judge
          Southern District of New York

-----------------------------------x
                                   :
UNITED STATES OF AMERICA           :         COMPLAINT
                                   :
          - v. –                   :         Violation of 21 U.S.C.
                                   :         §§ 812, 841, and 846
AHRMAN BURKE,                      :
     a/k/a “Stackin,”              :
     a/k/a “Stacks,”               :         COUNTY OF OFFENSE:
                                   :         NEW YORK
               Defendant.          :
                                   :
-----------------------------------x

SOUTHERN DISTRICT OF NEW YORK, ss:

          JAMES ROMANO, being duly sworn, deposes and says that he
is a Detective with the New York City Police Department (“NYPD”),
and charges as follows:

                               COUNT ONE
                        (Narcotics Conspiracy)

     1.   In or about August 2020, in the Southern District of New
York and elsewhere, AHRMAN BURKE, a/k/a “Stackin,” a/k/a “Stacks,”
the defendant, and others known and unknown, intentionally and
knowingly did combine, conspire, confederate, and agree together
and with each other to violate the narcotics laws of the United
States.

     2.   It was a part and an object of the conspiracy that AHRMAN
BURKE, a/k/a “Stackin,” a/k/a “Stacks,” the defendant, and others
known and unknown, would and did distribute and possess with intent
to distribute a controlled substance, in violation of Title 21,
United States Code, Section 841(a)(1).

     3.   The controlled substance that AHRMAN BURKE, a/k/a
“Stackin,” a/k/a “Stacks,” the defendant, conspired to distribute
and possess with intent to distribute was mixtures and substances
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containing a detectable amount of fentanyl, in violation of Title
21, United States Code, Section 841(b)(1)(C).

           (Title 21, United States Code, Section 846.)

                              COUNT TWO
                      (Narcotics Distribution)

     4.   On or about August 10, 2020, in the Southern District of
New York, AHRMAN BURKE, a/k/a “Stackin,” a/k/a “Stacks,” the
defendant, intentionally and knowingly distributed a controlled
substance, in violation of Title 21 United States Code,
Section 841(a)(1).

     5.   The controlled substance involved in the offense was
mixtures and substances containing a detectable amount of
fentanyl, in violation of Title 21, United States Code,
Section 841(b)(1)(C).

                             COUNT THREE
                 (Controlled Substances Possession)

     6.   On or about August 28, 2020, in the Southern District of
New York, AHRMAN BURKE, a/k/a “Stackin,” a/k/a “Stacks,” the
defendant, intentionally and knowingly possessed with intent to
distribute controlled substances, in violation of Title 21, United
States Code, Section 841(a)(1).

     7.   The controlled substances involved in the offense were
(1) mixtures and substances containing a detectable amount of
cocaine base, in a form commonly known as “crack,” in violation of
Title 21, United States Code, Section 841(b)(1)(C), (2) a quantity
of mushrooms containing psilocin, in violation of Title 21, United
States Code, Section 841(b)(1)(C), (3) less than 50 kilograms of
marihuana, in violation of Title 21,United States Code, Section
841(b)(1)(D), and (4) mixtures and substances containing a
detectable amount of alprazolam, in violation of Title 21, United
States Code, Sections 841(b)(1)(E)(ii).

          The bases for my knowledge of the foregoing charge are,
in part, as follows:

     8.   I am a Detective with the Overdose Team of the Detective
Bureau for Manhattan South (the “Overdose Team”), and I have been
personally involved in the investigation of this matter.      This
affidavit is based upon my personal participation in the
investigation, my examination of reports and records, and my
conversations with other law-enforcement officers and other
individuals. Because this affidavit is being submitted for the
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limited purpose of demonstrating probable cause, it does not
include all the facts that I have learned during the course of my
investigation. Where the contents of documents and the actions,
statements, and conversations of others are reported herein, they
are reported in substance and in part, except where otherwise
indicated.

                     Background of Investigation

     9.   Based on my participation in this investigation and my
training, education, and experience, I have learned the following,
in substance and in part:

          a.   Multiple   pharmaceutical    companies   manufacture
brand-name and generic versions of pills containing different
mixtures of acetaminophen and oxycodone, a controlled substance,
that are prescribed by physicians for pain relief and that depend
in their mixture on the strength that the prescribing physician
intends to achieve for his or her patient. The manufacturers of
such pills typically imprint specific marks on the pills, which
indicate to prescribers and users the mixture of acetaminophen and
oxycodone. For example, one pharmaceutical company manufactures
a generic version of such pills that are in wide distribution and
that are imprinted with an “M” on one side of the pill and “30” on
the other side of the pill and are a distinct blue in color. Given
their euphoric effects, such pills are widely diverted from their
prescribed use and distributed by drug trafficking organizations
to recreational drug users.

          b.   Based on my training and experience, I am familiar
with the substitution of fentanyl for oxycodone by drug trafficking
organizations that are able to obtain fentanyl at a much cheaper
price than pharmaceutical-grade prescription pills containing
oxycodone. These drug trafficking organizations manufacture pills
containing fentanyl with the intention of imitating prescription
pills containing oxycodone, a narcotic drug with much less powerful
and less dangerous effects upon its users than fentanyl.

          c.   Since in or about August 2020, the NYPD has
investigated AHRMAN BURKE, a/k/a “Stackin,” a/k/a “Stacks,” the
defendant, for selling pills purporting by their appearance and
their price to be pharmaceutically manufactured pills containing
oxycodone but that in fact contain fentanyl.      As set forth in
detail below, on or about August 10, 2020, BURKE sold 30 such pills
to an individual (the “Victim”) who was found deceased on or about
August 11, 2020 from a suspected fatal overdose.



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   The Defendant’s Distribution of Imitation Pills Containing
              Fentanyl on or about August 10, 2020

     10. Based on my participation in this investigation,
including my conversations with other law-enforcement personnel
and members of the public, and my review of various types of
evidence described in more detail below, I have learned the
following, among other things:

          a.   On or about August 11, 2020, members of the NYPD
responded to an apartment in Chelsea (“Apartment-1”), where the
Victim was found deceased earlier that day by the female resident
of Apartment-1 (“Female-1”). Together with other members of the
Overdose Team, I commenced an investigation into the suspected
fatal overdose of the Victim.

          b.    Female-1 informed me, in substance and in part,
that she had hosted the Victim as an overnight guest from in or
about the evening of August 10, 2020 onwards. Inside of Apartment-
1, members of the Overdose Team recovered a cellphone (the “Victim
Cellphone”) which I searched thereafter and which is identifiable
as the Victim’s cellphone based on multiple factors, including the
owner name of the Victim Cellphone (i.e., “[First Name of Victim]’s
iPhone”) and multiple user accounts that are associated with the
Victim Cellphone (e.g., an email address of “[First Name Last Name
of Victim]@aol.com” and an Instagram account of “[First Name Last
Name of Victim]”) that incorporate the Victim’s name.

          c.   Thereafter, I searched a car (the “Victim’s Car”)
that was parked in the vicinity of Apartment-1 and which I
identified through records obtained from the New York State
Department of Motor Vehicles as being registered to the Victim.
Inside the center console of the Victim’s Car, I found, among other
things, a clear plastic bag containing 24 pills, which are blue
and imprinted on one side of the pill with “M” and on the other
side of the pill with “30.” As discussed above, these indicia are
consistent with the appearance of a pharmaceutically manufactured
30 milligram pill that contains oxycodone, which, based on my
training, education, and experience, is commonly diverted from
drug trafficking organizations and sold to customers who wish to
obtain oxycodone for recreational drug use.

           d.   Based on my review of laboratory results, I have
learned, among other things, that one of the 24 pills, which are
identical, was identified as having the presence of fentanyl, not
oxycodone.    As discussed above, this is consistent with drug
traffickers who manufacture pills that by their appearance purport
to be pharmaceutically manufactured pills that contain oxycodone

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but that in fact contain only fentanyl, a much cheaper and much
deadlier controlled substance.

           e.  Based on my review of the Victim Cellphone, I
learned, among other things, that the Victim participated in a
series of calls and texts on or about August 10, 2020 with Female-
1, during which they discussed, in substance and in part, their
plans to meet that evening at Apartment-1 for which Victim was
purchasing a quantity of “blues.” Based on my training, education,
and experience, my recovery and the subsequent laboratory analysis
of the 24 pills described in ¶¶ 10.c and d, supra, and certain
other evidence identified on the Victim Cellphone, which I detail
in the following paragraphs, I believe “blues” refers to
pharmaceutically manufactured 30 milligram pills containing
oxycodone.

          f.   Based on my review of the Victim Cellphone, I have
also identified a series of calls and texts on or about August 10,
2020 and the days leading up to that date, between the Victim and
a cellphone assigned a telephone number ending in 8420 (the “8420
Number”), the user of which I later identified as AHRMAN BURKE,
a/k/a “Stackin,” a/k/a “Stacks,” the defendant. 1 The 8420 Number
is listed in the contacts of Victim Cellphone as belonging to the
contact name “Stackin.” In particular, I identified the following
series of calls and texts between the Victim Cellphone (on the
left) and the 8420 Number (on the right):

     08/03/2020 11:46:56 PM Call

1
 Based on my review of subscriber information obtained from the
carrier for the 8420 Number, I have identified that the name of
the subscriber is listed as “Bobby Jones” but the email address
associated with the subscriber is listed as “aburke12@stac.edu.”
In addition, based on my review of the Victim Cellphone, I have
also identified that in addition to “Stackin” there are three other
contact names similar to “Stackin” listed in the contacts for the
Victim Cellphone, including, “Stacks,” “Stacks 2,” and “Stacks 3.”
Based on my review of public records accessible through Accurint,
a database that compiles public records, including subscriber
information for cellphones, I know that the telephone number
associated with the contact name “Stacks” is associated with
subscriber information on Accurint that lists the subscriber name
of “AHRMAN S BURKE.” Finally, on or about August 18, 2020, I was
watching live     video  recordings   from   surveillance   cameras
maintained in the building where BURKE resides at the same time as
another member of the Overdose Team placed multiple calls and texts
to the 8420 Number, and I saw BURKE using a cellphone at the same
time as the 8420 Number responded with texts.
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[Not Answered]
08/07/2020 03:26:29 PM Text
“Yo I'm a need some more whenever you man is good”
                              08/07/2020 03:33:50 PM Text
                                “My bad just seeing this”
                              08/07/2020 03:34:11 PM Text
      “How many you need & for when? I could hit him rn”
                              08/08/2020 11:16:01 AM Text
                                                  “Yerrr”
                              08/08/2020 11:16:11 AM Text
                                        “You still need?”
8/10/2020 11:51:18 AM Call
[Answered; Duration 1 minute 20 seconds]
08/10/2020 7:34:52 PM Call
[Answered; Duration 43 seconds]
08/10/2020 7:51:23 PM Call
[Answered; Duration 38 seconds]
08/10/2020 7:52:58 PM Text
“How far are u”
                               08/10/2020 7:57:31 PM Text
                                            “Like 7 mins”
                               08/10/2020 7:57:56 PM Text
       “You got 300 cash on you or you gotta send some?”
08/10/2020 8:03:22 PM Text
“Yeah I got cash”
08/10/2020 8:03:30 PM Text
“U got 30 of them”
08/10/2020 8:05:03 PM Call
[Answered; Duration 8 seconds]
                               08/10/2020 8:06:02 PM Text
                                                   “Yeah”
                               08/10/2020 8:06:05 PM Text
                                             “Why wassup”
08/10/2020 8:08:07 PM Text
“I'll take them”
08/10/2020 8:08:22 PM Text
“You close ?”
                               08/10/2020 8:08:29 PM Text
                 “You got the whole 900 on you in cash?”
08/10/2020 8:08:33 PM Text
“No”
08/10/2020 8:09:01 PM Text
“Some dawg and zelle cool?”
08/10/2020 8:11:23 PM Text
“Wya?”
                               08/10/2020 8:11:37 PM Text
     “Yeah I’m bouta bring them down. I had to take bags
                                                upstairs”
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     08/10/2020 8:11:47 PM Text
     “Bet”
                                  08/10/2020 8:12:19 PM Text
             “You able to meet me in the lobby like before?”
     08/10/2020 8:12:27 PM Text
     “Yeah”
                                  08/10/2020 8:12:43 PM Text
                                                       “Bet”
     08/10/2020 8:15:50 PM Text
     “Here”
                                  08/10/2020 8:16:17 PM Text
                                “Bouta get off the elevator”
                                  08/10/2020 8:19:55 PM Text
       “I forgot you was supposed to send me $5 more because
                  you were short last time. Just temembered”
                                  08/10/2020 8:20:01 PM Text
                                               “Remembered*”

Based on my training, education, and experience, as well as my
review of additional evidence discussed herein, I believe that
this series of calls and texts reflects an order from the Victim
to BURKE for approximately 30 pills that by their appearance
purported to be pharmaceutically manufactured 30 milligram pills
containing oxycodone but that in fact contained fentanyl (“U got
30 of them” / “Yeah” / “I'll take them”), which the Victim arranged
to purchase from BURKE for $900 or $30 per pill, which is a price
within the range of the market for such diverted 30 milligram pills
in the metropolitan area of New York City (“You got the whole 900
on you in cash?”). I further believe that the Victim arranged to
pay BURKE partly in cash and partly through an internet-based
payment app, Zelle (“No” / “Some dawg and zelle cool?”), when the
Victim and BURKE met in person in the lobby of a building, where
they had met previously to conduct at least one or more similar
transactions (“You able to meet me in the lobby like before?” /
“Yeah”).   Finally, I also believe that BURKE indicated to the
Victim prior to August 10, 2020 that he would acquire these pills
from another individual pursuant to any order from the Victim (“How
many you need & for when? I could hit him rn”).

          g.   As part of this investigation, other members of the
Overdose Team and I initiated a further series of texts between
the Victim Cellphone and BURKE on the 8420 Number, in which we
imitated the Victim, who unbeknownst to BURKE, was now deceased.
For example, on or about August 11, 2020, we initiated the
following series of texts between the Victim Cellphone (on the
left) and BURKE (on the right), in which BURKE confirmed that he
had sold 30 pills to the Victim the prior night:

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     08/11/2020 4:53:30 PM Text
     “Yo how many did you give me last night”
                                  08/11/2020 4:53:49 PM Text
                                                    “30 why”
     08/11/2020 4:54:04 PM Text
     “I think this bitch stole 1”
                                   8/11/2020 4:54:27 PM Text
       “Lol that’s what I was telling you last time that she
                                                   prob did”
     8/11/2020 4:55:13 PM Text
     “I'm talk with her”
                                   8/11/2020 4:55:37 PM Text
                                                  “No doubt”

          h.   Based on my review of the Victim Cellphone, I have
also identified that the Victim had recently searched in the Apple
Maps app on the Victim Cellphone for “209 west 118th street, New
York, NY,” which, as described below, is the address of the
building in which BURKE lives.

          i.   Based on my review of video recordings from
surveillance cameras maintained at the building located at 209
West 118th Street, New York, NY 10026 (“Building-1”), I have
learned the following, among other things:

                  i.     On or about August 10, 2020, the
surveillance cameras at Building-1 captured a meeting between the
Victim and BURKE, who I identified by comparing the person in the
video recordings to a known photograph of BURKE from the New York
State Department of Motor Vehicles. In the video recodings, BURKE
exited a particular apartment (the “Subject Premises”) inside
Buidling-1 in order to meet with the Victim.

                  ii.     In the video recordings, the Victim and
BURKE both appear at different times to use their cellphones at
the same approximate time that they were texting each other, as
detailed in ¶ 10.f, supra. For example, at approximately 8:16 PM,
when BURKE texts the Victim “Bouta get off the elevator,” the video
recordings show BURKE walk out of the elevator into the lobby,
where additional video recordings show that he meets the Victim at
the main entrance to Building-1 and walks back with him through
the lobby and down a staircase into the basement.

                iii.     At approximately 8:18 PM at the base of
the staircase, the video recordings depict the Victim entering the
frame of the surveillance camera holding and looking at a clear
plastic bag containing a blue substance, which, at the distance
and the clarity recorded by the surveillance camera is consistent

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with the appearance of the clear plastic bag containing the 24
pills that I recovered from the Victim’s Car.    From there, the
video recordings show the Victim and BURKE walk back up the
staircase from the basement, at which point the video recordings
show the Victim walk out of Building-1 and BURKE return to the
fifth floor where he walks into the Subject Premises.

 The Search of the Subject Premises and Arrest of the Defendant

     11. Based on my participation in this investigation and my
training, education, and experience, I have learned the following,
among other things:

          a.      On or about August 27, 2020, the Honorable Debra
Freeman, United States Magistrate Judge for the Southern District
of New York, issued a warrant authorizing a search of the Subject
Premises (the “Warrant”).

          b.      On or about August 28, 2020, at approximately
6:00 AM, I participated in executing the Warrant together with
other members of the Overdose Team. Upon entering the Subject
Premises, it became apparent that the Subject Premises is not only
a one-bedroom apartment but that it also functions as a commercial
daycare center for infants, toddlers, and young children.

          c.      Inside the Subject Premises, I found AHRMAN
BURKE, a/k/a “Stackin,” a/k/a “Stacks,” the defendant asleep
inside the bedroom in a bed together with an adult female and a
minor female, whom BURKE identified as his two-year-old daughter.

          d.     During the course of my ensuing search of the
Subject Premises, the following items, among other things, were
seized:

                  i.     On the bed, I found a cellphone, which
BURKE identified as his cellphone;

                  ii.     In a closet outside of this bedroom, I
found (i) a duffel bag inside of which I found three plastic twists
containing a white, rock-like substance, and (ii) a clear plastic
container inside of which I found an EKOL Major nine-millimeter
semiautomatic pistol (the “Pistol”), which is designed to fire
ammunition without projectiles but which, based on my training,
education, and experience and that of other members of the Overdose
Team, I know is readily adaptable to fire ammunition with
projectiles. Based on my examination of the Pistol, I know that
the barrel of the Pistol has been tampered with in a manner that
is consistent with such adaptation;

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                iii.     On top of a plastic container in the
hallway in between the aforementioned bedroom and closet of the
Subject Premises, I found a plastic bag containing a quantity of
mushrooms;

                  iv.     In the living room of the Subject
Premises, I found a backpack amidst the toys and other equipment
of the daycare, which BURKE stated, in substance and in part, was
his backpack.    Inside the backpack, I found (i) a plastic bag
containing a quantity of a green vegetative substance, (ii) an
unmarked pill bottle containing approximately 12 white pills,
(iii) a digital scale with the residue of a green, vegetative
substance, and (iv) a plastic bag containing numerous empty plastic
bags of the same size and appearance as the plastic bag in which
I found the 24 pills in the Victim’s Car; and

                  v.     In   another  closet   of  the   Subject
Premises, I found a box of ammunition containing approximately 26
rounds of .380-caliber ammunition.

          e.      Based on my training and experience and the
appearance of the white, rock-like substance and the plastic twist
packaging, I believe that the white, rock-like substances consist
of mixtures and substances containing a detectable amount of
cocaine base, in a form commonly referred to as “crack.”

          f.      Based on my training and experience and the
appearance of the mushrooms and the plastic bag packaging, I
believe that the mushrooms contain psilocin.

          g.      Based on my     training and experience and the
appearance of the white pills,     including the imprints on them, I
believe that the white pills        contain mixtures and substances
containing a detectable amount    of alprazolam.

          h.      Based on my training and experience and the
appearance of the green, vegetative substance, and its seizure
together with a scale bearing the residue of that vegetative
substance, I believe that the green, vegetative substance is less
than 50 kilograms of marihuana.




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     WHEREFORE, I respectfully request that AHRMAN BURKE, a/k/a
“Stackin,” a/k/a “Stacks,” the defendant, be imprisoned or bailed,
as the case may be.




                         s/James Romano, by the Court, with permission
                           __________________________________
                           JAMES ROMANO
                           Detective
                           New York City Police Department


Sworn to me through the transmission of this
Complaint by reliable electronic means (Teleconference),
pursuant to Federal Rule of Criminal Procedure 4.1, on
August 28, 2020



____________________________________
THE HONORABLE DEBRA FREEMAN
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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